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 1   HEATHER E. WILLIAMS, SBN 122664
     Federal Defender
 2   CHRISTINA SINHA, SBN 278893
     Assistant Federal Defender
 3
     Designated Counsel for Service
 4   801 I Street, Third Floor
     Sacramento, CA 95814
 5   T: (916) 498-5700
     F: (916) 498-5710
 6
 7   Attorneys for Defendant
     MARTIN MACIAS
 8
 9                                 IN THE UNITED STATES DISTRICT COURT

10                             FOR THE EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                     ) Case No. 2:19-CR-136-MCE-6
12                                                 )
                      Plaintiff,                   ) STIPULATION AND ORDER TO ACCEPT
13                                                 ) ELECTRONIC SIGNATURES UNDER G.O. 616
14                       vs.                       )
                                                   ) Date: June 11, 2020
15   MARTIN MACIAS,                                ) Time: 10:00 A.M.
                                                   ) Judge: Hon. Morrison C. England, Jr.
16                  Defendant.                     )
                                                   )
17
18           IT IS HEREBY STIPULATED and agreed by and between McGregor W. Scott, United

19   States Attorney, through David Spencer, Assistant United States Attorney, and Heather

20   Williams, Federal Defender, through Assistant Federal Defender Christina Sinha, counsel for

21   Defendant Martin Macias, that the plea agreement in this matter may be signed by Mr. Macias

22   via electronic signature.

23           On April 15, 2020, Chief United States District Judge Kimberly J. Mueller issued

24   General Order 616, “Consent and Signature Requirements on Documents Filed in Criminal

25   Actions During the COVID-19 Public Emergency” (“G.O. 616”). For the reasons detailed in

26   G.O. 616, defense counsel is authorized to electronically sign documents on her client’s behalf

27   using the format “/s/ name” if the following conditions are met:

28           1.       The defendant has had an opportunity to consult with counsel regarding the

      Stipulation and Order to Accept Electronic        -1-     United States v. Macias, 2:19-CR-136-MCE-6
      Signatures Under G.O. 616
       Case 2:19-cr-00136-JAM Document 62 Filed 06/01/20 Page 2 of 3


 1                    matter;

 2           2.       The defendant consents to counsel’s signing on the defendant’s behalf; and

 3           3.       The judge presiding over the case makes a finding that “obtaining an actual
 4                    signature is impracticable or imprudent in light of the public health situation
 5                    relating to COVID-19.”
 6           Defense counsel represents that all three conditions have been met here. Therefore, the
 7   parties stipulate as follows, and respectfully request the Court to find that:
 8           1.       Mr. Macias has had an opportunity to consult with undersigned defense counsel
 9                    regarding this matter;
10           2.       Mr. Macias consents to undersigned defense counsel signing the plea agreement
11                    on his behalf; and
12           3.       In light of the COVID-19 pandemic, obtaining an actual signature from Mr.
13                    Macias, who is currently incarcerated at the Sacramento County Jail, is both
14                    impracticable and imprudent.
15                                                   Respectfully submitted,
16                                                   HEATHER E. WILLIAMS
                                                     Federal Defender
17
18   Date: May 26, 2020                              /s/ Christina Sinha
                                                     CHRISTINA SINHA
19                                                   Assistant Federal Defender
                                                     Attorneys for Defendant
20                                                   MARTIN MACIAS
21
22
     Date: May 26, 2020                              MCGREGOR W. SCOTT
23                                                   United States Attorney

24                                                   /s/ David Spencer
                                                     DAVID SPENCER
25                                                   Assistant United States Attorney
26                                                   Attorney for Plaintiff

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28
      Stipulation and Order to Accept Electronic       -2-         United States v. Macias, 2:19-CR-136-MCE-6
      Signatures Under G.O. 616
       Case 2:19-cr-00136-JAM Document 62 Filed 06/01/20 Page 3 of 3


 1                                                 ORDER

 2           The Court, having received and considered the parties’ stipulation, and good cause

 3   appearing therefrom, adopts the parties’ stipulation in its entirety as its order.
 4           IT IS SO ORDERED.
 5   Dated: May 29, 2020
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      Stipulation and Order to Accept Electronic       -3-         United States v. Macias, 2:19-CR-136-MCE-6
      Signatures Under G.O. 616
